                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

  UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR10-4007-DEO
  vs.                                             REPORT AND RECOMMENDATION
                                                   CONCERNING PLEA OF GUILTY
  BRITTANY REYNOLDS,
                 Defendant.
                                   ____________________


        On April 2, 2010, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered pleas of guilty to Counts Four and Five of the Indictment. After
cautioning and examining the defendant under oath concerning each of the subjects mentioned
in Rule 11, the court determined that the guilty pleas were knowledgeable and voluntary, and
the offenses charged were supported by an independent basis in fact containing each of the
essential elements of the offenses. The court therefore RECOMMENDS that the pleas of
guilty be accepted and the defendant be adjudged guilty.
        At the commencement of the Rule 11 proceeding, the defendant was placed under oath
and advised that if she answered any questions falsely, she could be prosecuted for perjury or
for making a false statement.     She also was advised that in any such prosecution, the
Government could use against her any statements she made under oath.
        The court then asked a number of questions to ensure the defendant’s mental capacity
to enter a plea. The defendant stated her full name, her age, and the extent of her schooling.
The court inquired into the defendant’s history of mental illness and addiction to narcotic
drugs. The court further inquired into whether the defendant was under the influence of any
drug, medication, or alcoholic beverage at the time of the plea hearing. From this inquiry, the




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court determined that the defendant was not suffering from any mental disability that would
impair her ability to make knowing, intelligent, and voluntary pleas of guilty to the charges.
       The defendant acknowledged that she had received a copy of the Indictment, and she had
fully discussed these charges with her attorney.
       The court determined that there was no plea agreement.
       The defendant was advised also that after her pleas were accepted, she would have no
right to withdraw the pleas at a later date, even if the sentence imposed was different from what
the defendant or her counsel anticipated.
       The court summarized the charges against the defendant, and listed the elements of the
crimes. The court determined that the defendant understood each and every element of the
crimes, ascertained that her counsel had explained each and every element of the crimes fully
to her, and the defendant’s counsel confirmed that the defendant understood each and every
element of the crimes charged.
       The court then elicited a full and complete factual basis for all elements of the crimes
charged in each Count of the Indictment to which the defendant was pleading guilty.
       The court advised the defendant of the consequences of her pleas, including, for each
Count, the maximum fine, and the maximum term of imprisonment.
       With respect to Counts Four and Five, the defendant was advised that as to each count
the maximum fine is $1,000,000; the maximum term of imprisonment is 20 years; the
maximum period of supervised release is life; and the minimum period of supervised release
is three years.
       The defendant also was advised that the court is obligated to impose a special assessment
of $100.00 on each Count, for a total of $200.00, which the defendant must pay. The
defendant also was advised of the collateral consequences of a plea of guilty. The defendant
acknowledged that she understood all of the above consequences.




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       The then explained supervised release to the defendant, and advised her that a term of
supervised release would be imposed in addition to the sentence of imprisonment. The
defendant was advised that there are conditions of supervised release, and that if she were
found to have violated a condition of supervised release, then her term of supervised release
could be revoked and she could be required to serve in prison all or part of the term of
supervised release without credit for time previously served on supervised release.
       The court also explained to the defendant that the district judge would determine the
appropriate sentence for her at the sentencing hearing. The defendant confirmed that she
understood the court would not determine the appropriate sentence until after the preparation
of a presentence report, which the parties would have the opportunity to challenge. The
defendant acknowledged that she understood the sentence imposed might be different from what
her attorney had estimated. The defendant also was advised that both she and the Government
would have the right to appeal the sentence. The defendant was advised that parole has been
abolished.
       The defendant indicated she had conferred fully with her counsel and she was fully
satisfied with her counsel. The defendant’s attorney indicated the attorney had had full access
to the Government’s discovery materials, and they supported a factual basis for the pleas.
       The defendant then was advised fully of her right to plead not guilty, or having already
entered a not guilty plea to persist in such plea, and to have a jury trial, including:
       1.     The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
       2.     The right to a speedy, public trial;
       3.     The right to have her case tried by a jury selected from a cross-section of the
              community;
       4.     That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and every
              element of the offense beyond a reasonable doubt;



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       5.       That the Government could call witnesses into court, but the defendant’s attorney
                would have the right to confront and cross-examine these witnesses;
       6.       That the defendant would have the right to see and hear all witnesses presented
                at trial;
       7.       That the defendant would have the right to subpoena defense witnesses to testify
                at the trial, and if she could not afford to pay the fees and costs of bringing these
                witnesses to court, then the Government would be required to pay those fees and
                costs;
       8.       That the defendant would have the privilege against self incrimination; i.e., she
                could choose to testify at trial, but she need not do so, and if she chose not to
                testify, then the court would instruct the jury that the defendant had a
                constitutional right not to testify;
       9.       That any verdict by the jury would have to be unanimous;
       10.      That she would have the right to appeal, and if she could not afford an attorney
                for the appeal, then the Government would pay the costs of an attorney to
                prepare the appeal.
       The defendant also was advised of the rights she would waive by entering a plea of
guilty. The defendant was told there would be no trial, she would waive all the trial rights just
described, and she would be adjudged guilty without any further proceedings except for
sentencing.
       The defendant then confirmed that her decision to plead guilty was voluntary and was
not the result of any promises; no one had promised her what the sentence would be; and her
decision to plead guilty was not the result of any threats, force, or anyone pressuring her to
plead guilty.
       The defendant then confirmed that she still wished to plead guilty, and she pleaded guilty
to Counts Four and Five of the Indictment.
       The court finds the following with respect to the defendant’s guilty plea:
       1.       The guilty plea is voluntary, knowing, not the result of force, threats or
                promises, and the defendant is fully competent.
       2.       The defendant is aware of the maximum punishment.


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      3.      The defendant knows her jury rights.
      4.      The defendant has voluntarily waived her jury rights.
      5.      There is a factual basis for the plea.
      6.      The defendant is, in fact, guilty of the crimes to which she is pleading guilty.
      The defendant has executed a Consent to the Court’s Inspection of Presentence Report
Prior to Guilty Plea. The defendant was advised that a written presentence investigation report
would be prepared to assist the court in sentencing. The defendant was told that she and her
counsel would have an opportunity to read the presentence report before the sentencing hearing
and to object to the contents of the report, and she and her counsel would be afforded the
opportunity to present evidence and be heard at the sentencing hearing.
      The defendant was advised that the failure to file written objections to this Report and
Recommendation within 14 days of the date of its service would bar her from attacking this
court’s Report and Recommendation, which recommends that the assigned United States
District Judge accept the defendant’s pleas of guilty.          A copy of this Report and
Recommendation was served on the defendant and her attorney at the conclusion of the
proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 2nd day of April, 2010.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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